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             Exhibit 2
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 AMANDA DECKER,
                                                           Case No: 17-cv-04152
       Plaintiff,

 v.
                                                           Honorable Judge Manish S. Shah
 RECEIVABLES PERFORMANCE
 MANAGEMENT, LLC.

       Defendant.

                             DECLARATION OF MARWAN R. DAHER

         I, Marwan R. Daher, declare that I am an attorney at the law firm Sulaiman Law Group,

Ltd., counsel for Amanda Decker (“Plaintiff”) in this case. I am familiar with the facts set forth in

this declaration.

1.       I am over the age of 21, under no legal disability, and I have personal knowledge of the

         facts set forth in this Declaration. If called as a witness I could and would testify to the

         following:

2.       I am one of the attorneys for the Plaintiff in this case.

3.       I have been admitted to the practice of law since 2017.

4.       I am a member of good standing of the following Courts:

              •     The United States District Court for the Northern and Southern Districts of Illinois
              •     The United States District Court for the Northern and Southern Districts of Indiana
              •     The United States District Court for the Eastern and Western Districts of Wisconsin
              •     The United States District Court for the Eastern, Northern, Western, and Southern
                    Districts of Texas
              •     The United States District Court for the Northern District of Ohio
              •     The United States District Court of Colorado


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            •     State Courts of Illinois
5.       I have substantial experience in representing consumers in claims brought pursuant to the

         Fair Debt Collection Practices Act (“FDCPA”), Fair Credit Reporting Act (“FCRA”),

         Telephone Consumer Protection Act (“TCPA”), and the Illinois Consumer Fraud and

         Deceptive Business Practices Act (“ICFA”).

6.       I have represented over 450 consumers in cases filed in Illinois and other jurisdictions.

7.       The rate that I billed per hour in this case is $275.00, which is justified by my experience,

         the nature and complexity of the cases I handle, and the relative risk involved in consumer

         cases.

8.       The hourly rate of $275.00 that I billed in this case is consistent with that charged by

         attorneys practicing consumer law, as reported in the United States Consumer Law

         Attorney Fee Survey Report 2015-2016, ps. 27-29, 223-224, said Report being available

         online at https://www.nclc.org/images/pdf/litigation/tools/atty-fee-survey-2015-2016.pdf.

9.       Courts using the US Consumer Law Attorney Fee Survey Report when deciding fee

         disputes in Consumer Law cases include the following: Decker v. Transworld Systems,

         Inc., 2009 WL 2916819 (N.D. Ill. 2009) (finding results in the United States Consumer

         Law Attorney Fee Survey Report to be supported by the Laffey Matrix); Vahidy v.

         Transworld Systems, Inc., 2009 WL 2916825 (N.D. Ill. 2009) (finding results in the 2007

         United States Consumer Law Attorney Fee Survey Report to be supported by the Laffey

         Matrix).

10.      My hourly rate is further supported by the fact that I have prevailed in obtaining

         settlement or judgment on behalf of my clients in over 92% of the cases that I have filed.

11.      The amount of hours I expended in this case is 24.8 hours, and I billed at the rate of

         $275.00, from the inception of the case to the present day.

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12.      The lodestar fee amount for the work I rendered is $6,820.00 (24.8 x $275.00).

13.      I completely performed the services reflected above. The services performed were both

         reasonable and necessary to effectively represent my client.

14.      I am seeking attorney’s fees in the amount of $6,820.00. See attached Exhibit 2-A.

15.      I have been annually recognized by Thomson Reuters as an Illinois Super Lawyer Rising

         Star from 2017 through the present.

16.      I am familiar with the hourly rates of attorneys in this District that perform consumer work.

17.      I have reviewed the time sheets for Mohammed Badwan and find the hours he expended in

         this case to be reasonable and necessary.

18.      Mohammed Badwan’s             hourly rate of $425.00 is reasonable and consistent with his

         experience and skill level.

19.      These requested attorney’s fees were reasonable and the work expended was necessary to

         protect Ms. Decker’s interests.

Pursuant to 28 U.S.C. § 1746(2), I, Marwan R. Daher, hereby declare under penalty of perjury

that the foregoing is true and correct.


Dated: November 5, 2019                                  Respectfully Submitted,


                                                          /s/ Marwan R. Daher




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      Exhibit 2-A
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            Bill Date     Dur/Qty      Bill Code                            Description                           Staff   Client         Hourly Rate    Total
5/20/2017                   0.8     CONTINGENCY    Phone call with client                                         MRD Amanda Decker     $275.00         $220.00
5/24/2017                   0.4     CONTINGENCY    Phone call with client                                         MRD Amanda Decker     $275.00         $110.00
5/24/2017                   3.4     CONTINGENCY    Prepare Complaint                                              MRD Amanda Decker     $275.00         $935.00

6/30/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re Stipulation to Extend Time   MRD   Amanda Decker   $275.00          $27.50
6/30/2017                   0.1     CONTINGENCY    Review Defendant's Motion for Extension of Time                MRD   Amanda Decker   $275.00          $27.50
7/1/2017                    0.8     CONTINGENCY    Review Defendant's Answer to Complaint                         MRD   Amanda Decker   $275.00         $220.00
8/1/2017                    0.1     CONTINGENCY    Email exchange with Sean Flynn re Joint Status Report          MRD   Amanda Decker   $275.00          $27.50
8/1/2017                    0.3     CONTINGENCY    Review Joint Status Report                                     MRD   Amanda Decker   $275.00          $82.50
8/3/2017                    0.4     CONTINGENCY    Prepare for Initial Status Hearing                             MRD   Amanda Decker   $275.00         $110.00
8/4/2017                     2      CONTINGENCY    Appear for Initial Status Hearing                              MRD   Amanda Decker   $275.00         $550.00
8/7/2017                    2.8     CONTINGENCY    Prepare Discovery Requests to Defendant                        MRD   Amanda Decker   $275.00         $770.00
8/9/2017                    0.1     CONTINGENCY    Email to Sean Flynn with Subpoena to LiveVox                   MRD   Amanda Decker   $275.00          $27.50
8/15/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re available dates              MRD   Amanda Decker   $275.00          $27.50
8/15/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re facts of case                MRD   Amanda Decker   $275.00          $27.50
8/15/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re facts of case                MRD   Amanda Decker   $275.00          $27.50
                                                   Review email response from LiveVox counsel re document
8/30/2017                   0.1     CONTINGENCY    production                                                     MRD Amanda Decker     $275.00          $27.50
                                                   Reviewed email from Sean Flynn re discovery requests and
9/5/2017                    0.1     CONTINGENCY    notice of deposition                                           MRD Amanda Decker     $275.00          $27.50
9/19/2017                   0.1     CONTINGENCY    Email to Sean Flynn with Plaintiff's demand                    MRD Amanda Decker     $275.00          $27.50

9/19/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re amending of the complaint MRD Amanda Decker        $275.00          $27.50
9/19/2017                   0.1     CONTINGENCY    Email to Sean Flynn re settlement demand                    MRD Amanda Decker        $275.00          $27.50
                                                   Email exchange with Sean Flynn re Notice of Deposition
9/19/2017                   0.1     CONTINGENCY    objections                                                  MRD Amanda Decker        $275.00          $27.50

9/20/2017                   0.1     CONTINGENCY    Reviewed email from Sean Flynn re discovery responses          MRD Amanda Decker     $275.00          $27.50

9/20/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re amending of the complaint MRD Amanda Decker        $275.00          $27.50
9/21/2017                    1      CONTINGENCY    Rule 37 Meet and Confer re Deposition Topics                MOB Amanda Decker        $425.00         $425.00

9/21/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re document production          MRD Amanda Decker     $275.00          $27.50

9/23/2017                   0.1     CONTINGENCY    Email exchange with Sean Flynn re proposed protective order    MRD Amanda Decker     $275.00          $27.50
                                                   Email exchange with Sean Flynn re verification of discovery
9/25/2017                   0.1     CONTINGENCY    responses                                                      MRD Amanda Decker     $275.00          $27.50
                                                   Email exchange with Sean Flynn re extension of time for
10/2/2017                   0.1     CONTINGENCY    discovery                                                      MRD Amanda Decker     $275.00          $27.50
10/12/2017                  0.1     CONTINGENCY    Review Plaintiff's Verizon Call Records                        MRD Amanda Decker     $275.00          $27.50
                                                   Email exchange with Sean Flynn re initial response to
10/13/2017                  0.1     CONTINGENCY    settlement demand                                              MRD Amanda Decker     $275.00          $27.50
                                                   Prepare Plaintiff's responses to Defendant's discovery
10/16/2017                  5.8     CONTINGENCY    requests; confer with client re: same                          MRD Amanda Decker     $275.00        $1,595.00
10/20/2017                   2      CONTINGENCY    Appear for Status Hearing                                      NCV Amanda Decker     NC                    NC
10/20/2017                  0.1     CONTINGENCY    Email to Sean Flynn re settlement demand                       MRD Amanda Decker     $275.00           $27.50
                                                   Email exchange with Sean Flynn re 10/20/17 status
10/20/2017                  0.1     CONTINGENCY    conference                                                     MRD Amanda Decker     $275.00          $27.50
                                                   Email exchange with Sean Flynn re demand and document
10/23/2017                  0.1     CONTINGENCY    production                                                     MRD   Amanda Decker   $275.00          $27.50
11/3/2017                   0.1     CONTINGENCY    Email to Sean Flynn re settlement demand                       MRD   Amanda Decker   $275.00          $27.50
11/14/2017                  0.1     CONTINGENCY    Email to Sean Flynn re 30b6 witness availabilty                MRD   Amanda Decker   $275.00          $27.50
11/28/2017                  0.1     CONTINGENCY    Email to Sean Flynn re LiveVox Subpoena                        MRD   Amanda Decker   $275.00          $27.50
12/1/2017                   0.1     CONTINGENCY    Email exchange with Leslie Handy re Initial Disclosures        MRD   Amanda Decker   $275.00          $27.50
12/8/2017                   0.1     CONTINGENCY    Email to Sean Flynn re possible dates for deposition           MRD   Amanda Decker   $275.00          $27.50
                                                   Email exchange with Sean Flynn re objections to notice of
12/14/2017                  0.1     CONTINGENCY    deposition                                                     MRD   Amanda Decker   $275.00          $27.50
12/18/2017                  0.1     CONTINGENCY    Email exchange with Sean Flynn re Plaintiff's Deposition       MRD   Amanda Decker   $275.00          $27.50
12/19/2017                  0.4     CONTINGENCY    Review proposed protective order                               MRD   Amanda Decker   $275.00         $110.00
12/19/2017                  0.1     CONTINGENCY    Reviewed email from Sean Flynn re discovery                    MRD   Amanda Decker   $275.00          $27.50
12/19/2017                  0.1     CONTINGENCY    Email to Sean Flynn re protective order                        MRD   Amanda Decker   $275.00          $27.50
                                                   Phone Call with Nate Read re LiveVox subpoena response and
12/21/2017                  0.5     CONTINGENCY    availability for deposition                                    MOB Amanda Decker     $425.00         $212.50

12/26/2017                  0.1     CONTINGENCY    Email exchange with Sean Flyyn re Deposition of Plaintiff      MRD Amanda Decker     $275.00          $27.50

1/3/2018                    0.1     CONTINGENCY    Email exchange with LiveVox counsel re deposition availabilty MOB Amanda Decker      $425.00          $42.50
                                                   Email to Sean Flynn re possible telephonic deposition of
1/4/2018                    0.1     CONTINGENCY    Plaintiff                                                     MRD Amanda Decker      $275.00          $27.50
1/5/2018                    0.1     CONTINGENCY    Email exchange with Sean Flynn re depositions dates           MRD Amanda Decker      $275.00          $27.50

1/5/2018                    0.1     CONTINGENCY    Email exchange with Sean Flynn re Defendant's deposition       MRD Amanda Decker     $275.00          $27.50
                                                   Email exchange with Sean Flynn re objections to notice of
1/8/2018                    0.1     CONTINGENCY    deposition                                                     MRD Amanda Decker     $275.00          $27.50
                                                   Review Defedant's Discovery Responses and Send email to OC
1/9/2018                     2      CONTINGENCY    re meet and confer                                             MOB Amanda Decker     $425.00         $850.00
                                                   Prepare for Status Hearing; Motion for Protective Order;
1/10/2018                   0.6     CONTINGENCY    Motion to Extend Discovery Deadline                            MOB Amanda Decker     $425.00         $255.00
                                                   Email to Sean Flynn re document production and court
1/10/2018                   0.1     CONTINGENCY    reporter for deposition                                        MRD Amanda Decker     $275.00          $27.50
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1/11/2018               0.2    CONTINGENCY   Email to Sean Flynn re merits of case                         MOB Amanda Decker        $425.00     $85.00
                                             Email to Sean Flynn re RPM deposition and meet and confer
1/11/2018               0.2    CONTINGENCY   availability                                                  MOB Amanda Decker        $425.00     $85.00
                                             Appear for Status Hearing; Motion to Extend Discovery;
1/11/2018               2.3    CONTINGENCY   Motion for Protective Order                                   MOB Amanda Decker        $425.00    $977.50

1/11/2018               0.1    CONTINGENCY   Email exchange with Sean Flynn re Deposition of Plaintiff     MRD Amanda Decker        $275.00     $27.50

1/23/2018               0.1    CONTINGENCY   Email exhange with Sean Flynn re Defendant's deposition       MRD      Amanda Decker   $275.00     $27.50
1/25/2018               0.1    CONTINGENCY   Email exchange with Sean Flynn re Plaintiff's Deposition      MOB      Amanda Decker   $425.00     $42.50
1/25/2018               0.1    CONTINGENCY   Email to Sean Flynn re Plaintiff's Deposition                 MRD      Amanda Decker   $275.00     $27.50
                                             Email exchange with Sean Flynn re available dates for
1/29/2018               0.1    CONTINGENCY   corporate deposition and experts                              MRD      Amanda Decker   $275.00     $27.50
                                             Prepare Contested Status Report on Expert Discovery and
2/2/2018                0.6    CONTINGENCY   Dispositive Motions                                           MOB      Amanda Decker   $425.00    $255.00
                                             Meet and Confer with Sean Flynn re Expert Discovery and
2/2/2018                0.3    CONTINGENCY   Dispositive Motions                                           MOB      Amanda Decker   $425.00    $127.50
                                             Email to Sean Flynn with Seconded Amended Notice of
2/5/2018                0.1    CONTINGENCY   Deposition                                                    MRD      Amanda Decker   $275.00     $27.50
2/6/2018                 3     CONTINGENCY   Appear for Plaintiff's Deposition                             MRD      Amanda Decker   $275.00    $825.00
                                             Review LiveVox Production and Prepare Email to its Counsel re
2/6/2018                1.5    CONTINGENCY   Deposition Alternatives                                       MOB      Amanda Decker   $425.00    $637.50
2/6/2018                0.1    CONTINGENCY   Email exchange with Sean Flynn re Deposition of RPM           MOB      Amanda Decker   $425.00     $42.50
2/8/2018                0.3    CONTINGENCY   Phone call with Nate Read re LiveVox deposition               MOB      Amanda Decker   $425.00    $127.50
                                             Review email response from LiveVox counsel re declaration
2/8/2018                0.2    CONTINGENCY   needed to avoid deposition                                    MOB      Amanda Decker   $425.00     $85.00
                                             Email exchange with Sean Flynn re objections to notice of
2/9/2018                0.1    CONTINGENCY   deposition                                                    MRD      Amanda Decker   $275.00      $27.50
2/13/2018               6.9    CONTINGENCY   Prepare for RPM Deposition                                    MOB      Amanda Decker   $425.00   $2,932.50
2/14/2018               2.1    CONTINGENCY   Prepare for RPM Deposition                                    MOB      Amanda Decker   $425.00     $892.50
2/14/2018               2.8    CONTINGENCY   Appear for RPM Deposition                                     MOB      Amanda Decker   $425.00   $1,190.00
2/14/2018               0.1    CONTINGENCY   Email exchange with Nathaniel P.T. Read re depositions        MRD      Amanda Decker   $275.00      $27.50
2/15/2018                3     CONTINGENCY   Prepare Motion to Extend Discovery and Compel                 MOB      Amanda Decker   $425.00   $1,275.00
2/15/2018               0.2    CONTINGENCY   Email to Daniel Mckenna re LiveVox Dep in O'Connor            MOB      Amanda Decker   $425.00      $85.00
2/16/2018               5.8    CONTINGENCY   Prepare Motion to Compel and Extend Discovery                 MOB      Amanda Decker   $425.00   $2,465.00
                                             Email to Sean Flynn re rescheduling 2.22.18 hearing per
2/20/2018               0.2    CONTINGENCY   defense counsel                                               MOB      Amanda Decker   $425.00     $85.00
                                             Review and analyze Defendant's response to Motion to
3/6/2018                0.4    CONTINGENCY   Compel                                                        MOB      Amanda Decker   $425.00    $170.00
3/12/2018               0.2    CONTINGENCY   Review court's Order on Motion to Compel                      MOB      Amanda Decker   $425.00     $85.00
                                             Review Court's 3.10.18 Order and prepare emial to SEan Flynn
3/14/2018               0.2    CONTINGENCY   re available dates                                            MOB      Amanda Decker   $425.00     $85.00
                                             Phone call with Sean Flynn re RPM Deposition and Potential
3/15/2018               0.3    CONTINGENCY   Settlement                                                    MOB      Amanda Decker   $425.00    $127.50
3/22/2018               0.3    CONTINGENCY   Email exchange with LiveVox counsel re declaration            MOB      Amanda Decker   $425.00    $127.50
3/28/2018               0.5    CONTINGENCY   Phone call with Randall Snyder                                MOB      Amanda Decker   $425.00    $212.50
                                             Email exchange with Randall Snyder re expert report due
3/28/2018               0.3    CONTINGENCY   4.16.18                                                       MOB      Amanda Decker   $425.00    $127.50
4/3/2018                 2     CONTINGENCY   Prepare Motion to Compel and Email to Sean Flynn              MOB      Amanda Decker   $425.00    $850.00
                                             Email to Sean Flynn re expert discovery deadlines and RPM
4/4/2018                0.2    CONTINGENCY   availability for deposition                                   MOB      Amanda Decker   $425.00     $85.00
                                             Reviewed email from Sean Flynn re expert discovery deadlines
4/6/2018                0.2    CONTINGENCY   and RPM's continued deposition                                MOB      Amanda Decker   $425.00     $85.00
                                             Prepare Motion to Vacate Expert Discovery Deadlines and
4/9/2018                1.4    CONTINGENCY   Circulate to Defense Counsel                                  MOB      Amanda Decker   $425.00    $595.00
4/9/2018                0.1    CONTINGENCY   Email to Sean Flynn re document production                    MRD      Amanda Decker   $275.00     $27.50
                                             Revise Unopposed Motion to Vacate Discovery Deadlines after
4/10/2018               0.4    CONTINGENCY   Conferring with Sean Flynn                                    MOB      Amanda Decker   $425.00    $170.00
                                             Review and analyze Defendant's Motion for Summary
5/2/2018                1.8    CONTINGENCY   Judgment                                                      MOB      Amanda Decker   $425.00     $765.00
5/9/2018                1.4    CONTINGENCY   Prepare for Status Hearing and Review Defendant's MSJ         MOB      Amanda Decker   $425.00     $595.00
5/24/2018               4.6    CONTINGENCY   Prepare for RPM Continued Deposition                          MOB      Amanda Decker   $425.00   $1,955.00
5/25/2018               5.1    CONTINGENCY   Appear and Take RPM's Deposition                              MOB      Amanda Decker   $425.00   $2,167.50

7/11/2018               6.4    CONTINGENCY   Prepare Response to Defendant's Statement of Material Facts MOB        Amanda Decker   $425.00   $2,720.00
7/12/2018               7.3    CONTINGENCY   Prepare Response to Statement of Material Facts                  MOB   Amanda Decker   $425.00   $3,102.50
7/13/2018               8.1    CONTINGENCY   Prepare Response to Motion for Summary Judgment                  MOB   Amanda Decker   $425.00   $3,442.50
7/16/2018               7.8    CONTINGENCY   Prepare Response to Motion for Summary Judgment                  MOB   Amanda Decker   $425.00   $3,315.00
                                             Review and analyze Defendant's Reply in Support of Motion
7/30/2018               0.7    CONTINGENCY   for Summary Judgment                                             MOB   Amanda Decker   $425.00    $297.50
                                             Phone call with defense counsel re trial date and interest in
3/25/2019               0.3    CONTINGENCY   settlement                                                       MOB   Amanda Decker   $425.00    $127.50
3/26/2019                2     CONTINGENCY   Appear for Status Hearing                                        MOB   Amanda Decker   $425.00    $850.00
4/3/2019                 1     CONTINGENCY   Prepare settlement demand to defendant                           MOB   Amanda Decker   $425.00    $425.00
4/3/2019                0.4    CONTINGENCY   Phone call with client re settlement                             MOB   Amanda Decker   $425.00    $170.00
4/3/2019                0.1    CONTINGENCY   Email exchange with Sean Flynn re Plaintiff's Demand             MOB   Amanda Decker   $425.00     $42.50
5/14/2019                2     CONTINGENCY   Appear for Status Hearing                                        MOB   Amanda Decker   $425.00    $850.00
                                             Prepared Timesheet and Submit to Sean Flynn (settlement
6/14/2019               1.6    CONTINGENCY   efforts)                                                         MOB   Amanda Decker   $425.00    $680.00
                                             Phone call with Sean Flynn re: validity of the acceptance of the
7/12/2019               0.5    CONTINGENCY   offer of judgment                                                MOB   Amanda Decker   $425.00    $212.50
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                                                                 Prepare email to Sean Flynn re: validity of the acceptance of
7/12/2019                          0.3           CONTINGENCY     the offer of judgment                                              MOB Amanda Decker     $425.00     $127.50
                                                                 Case law research on offers of judgment and proper
7/12/2019                          1.3           CONTINGENCY     acceptance                                                         MOB Amanda Decker     $425.00     $552.50

7/16/2019                          0.9           CONTINGENCY     Prepare Notice of Acceptance and Related Document for Filing MOB         Amanda Decker   $425.00     $382.50
                                                                 Prepare Motion for Entry of Judgment (after defendant
7/16/2019                          3.3           CONTINGENCY     challenged the validity of the acceptance of judgment)       MOB         Amanda Decker   $425.00    $1,402.50
7/23/2019                          0.4           CONTINGENCY     Review Defendant's proposed judgment order                   MOB         Amanda Decker   $425.00      $170.00
                                                                 Prepare Plaintiff's proposed judgment order (Plaintiff's
7/23/2019                          0.6           CONTINGENCY     version)                                                     MOB         Amanda Decker   $425.00     $255.00
7/23/2019                          0.1           CONTINGENCY     Email to Sean Flynn re: proposed judgment order              MOB         Amanda Decker   $425.00      $42.50
                                                                 Email to Sean Flynn re: meet and confer pertaining to Local
8/2/2019                           0.1           CONTINGENCY     Rule 54.3 (fee petitions)                                    MOB         Amanda Decker   $425.00      $42.50
                                                                 Conference call with Sean Flynn re: deadlines prescribed by
8/6/2018                           0.5           CONTINGENCY     Local Rule 54.3                                              MOB         Amanda Decker   $425.00     $212.50
                                                                 Email exchange with Sean Flynn re: agreed deadlines
8/7/2019                           0.3           CONTINGENCY     pertaining to Local Rule 54.3                                MOB         Amanda Decker   $425.00     $127.50

8/12/2019                          1.8           CONTINGENCY     Prepare time records submission pursuant to Local Rule 54.3        MOB Amanda Decker     $425.00     $765.00
8/15/2019                          0.3           CONTINGENCY     Cursory review of Defendant's billing records                      MOB Amanda Decker     $425.00     $127.50
                                                                 Email to defense counsel re: deficiency in production of billing
8/15/2019                          0.1           CONTINGENCY     records                                                            MOB Amanda Decker     $425.00      $42.50
                                                                 Phone call with Sean Flynn re: fee petitions and prospect of
8/20/2019                          0.3           CONTINGENCY     settlement                                                         MOB Amanda Decker     $425.00     $127.50
8/21/2019                          0.2           CONTINGENCY     Email to Sean Flynn re: outstanding insurance policy               MOB Amanda Decker     $425.00      $85.00

9/4/2019                           1.2           CONTINGENCY     Case law research on ICFA attorney's fees to prevailing party      MOB Amanda Decker     $425.00     $510.00
                                                                 Prepare Ccorrespondence to Defense Counsel re: Opposition
9/4/2019                           1.8           CONTINGENCY     to Defendant's Fee Petition                                        MOB Amanda Decker     $425.00     $765.00
9/4/2019                           0.5           CONTINGENCY     Review Defendant's LR 54.3d(5) production                          MOB Amanda Decker     $425.00     $212.50
9/4/2019                           0.2           CONTINGENCY     Phone call with Sean Flynn re: LR 54.3d(5) exchange                MOB Amanda Decker     $425.00      $85.00
                                                                 Research case law on Rule 54 costs when both parties
9/20/2019                          1.2           CONTINGENCY     prevailed on some counts                                           MOB Amanda Decker     $425.00     $510.00
9/25/2019                          0.1           CONTINGENCY     Email to defense counsel re: settlement                            MOB Amanda Decker     $425.00      $42.50
                                                                 Phone call with Sean Flynn re: settlement and fee petition
9/27/2019                          0.2           CONTINGENCY     deadlines                                                          MOB   Amanda Decker   $425.00       $85.00
9/30/2019                          5.3           CONTINGENCY     Prepare Response to Defendant's Bill of Costs                      MOB   Amanda Decker   $425.00    $2,252.50
10/10/2019                         0.2           CONTINGENCY     Review Local Rule 54.3(e) re: joint statement                      MOB   Amanda Decker   $425.00       $85.00
10/10/2019                         2.3           CONTINGENCY     Prepare Draft of Local Rule 54.3 Joint Statement                   MOB   Amanda Decker   $425.00      $977.50
                                  138.8                                                                                                                             $54,420.00


                     Attorney Breakdown
Attorney                          Hours              Fees
Mohammed Badwan (MOB)              112              $47,600.00
Marwan Daher (MRD)                 24.8              $6,820.00
Nathan Volheim (NCV)                NC                NC
Total                             136.8           $54,420.00

                          Expenses
Date                      Description                 Cost
5/31/2017                 Filing Fee                $400.00
6/11/2017                 Service of Summons         $49.00
2/23/2018                 Ecoscribe Transcript     $1,203.46
7/4/2018                  Ecoscribe Transcript     $1,328.00
8/29/2018                 Veritext Transcript       $751.15
                                                   $3,731.61
